Authentisign ID: 025160F1-6C4E-EE11-A3F1-6045BDA964A1
   JS 44 (Rev. 04/21)                               CIVIL
                                Case 1:23-mi-99999-UNA    COVER
                                                       Document   SHEET
                                                                2899-1 Filed 09/08/23 Page 1 of 2
   The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
   provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
   purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
   I. (a) PLAINTIFFS                                                                                            DEFENDANTS
             Chelsea Davis                                                                                      Atlanta Luxury Motors, INC, ALM Automotive Group, LLC,
                                                                                                                Alliance Cars LLC dba ALM Newnan, & Khushwant Bhatia
       (b) County of Residence of First Listed Plaintiff                Coweta                                  County of Residence of First Listed Defendant Fulton County
                                     (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

       (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
           The Clifton Law Firm, LLC, 125 Flat Creek Trail, Suite
           120, Fayetteville, GA 30214, (770) 828-7339
   II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
       1   U.S. Government                ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
             Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ✖ 1        ✖ 1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                            of Business In This State

       2   U.S. Government                    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
             Defendant                              (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
   IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
              CONTRACT                                                  TORTS                             FORFEITURE/PENALTY                      BANKRUPTCY                       OTHER STATUTES
       110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
       120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
       130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                28 USC 157                        3729(a))
       140 Negotiable Instrument                Liability                   367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
       150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
           & Enforcement of Judgment            Slander                         Personal Injury                                                820 Copyrights                    430 Banks and Banking
       151 Medicare Act                    330 Federal Employers’               Product Liability                                              830 Patent                        450 Commerce
       152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
            Student Loans                  340 Marine                           Injury Product                                                     New Drug Application          470 Racketeer Influenced and
            (Excludes Veterans)            345 Marine Product                   Liability                                                      840 Trademark                         Corrupt Organizations
       153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
           of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
       160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending              Act                                                                485 Telephone Consumer
       190 Other Contract                      Product Liability            380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
       195 Contract Product Liability      360 Other Personal                   Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
       196 Franchise                           Injury                       385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                           362 Personal Injury -                Product Liability       ✖ 751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                               Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
           REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
       210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
       220 Foreclosure                     441 Voting                       463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
       230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
       240 Torts to Land                   443 Housing/                         Sentence                                                            or Defendant)                896 Arbitration
       245 Tort Product Liability              Accommodations               530 General                                                        871 IRS—Third Party               899 Administrative Procedure
       290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                               Employment                   Other:                        462 Naturalization Application                                             Agency Decision
                                           446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                               Other                        550 Civil Rights                  Actions                                                                State Statutes
                                           448 Education                    555 Prison Condition
                                                                            560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
   V. ORIGIN (Place an “X” in One Box Only)
   ✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
         Proceeding             State Court                              Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              Family and Medical Leave Act, 29 U.S.C Section 2601, Title VII of the Civil Rights Act of 1964, Pregnancy Discriminaiton Act of 1978 and state laws
   VI. CAUSE OF ACTION Brief description of cause:
                                              Violation of FMLA, Title VII and state law claims
   VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
        COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
   VIII. RELATED CASE(S)
                                                  (See instructions):
         IF ANY                                                           JUDGE                                                                DOCKET NUMBER
   DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
   09/08/2023
   FOR OFFICE USE ONLY

       RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                           MAG. JUDGE
Authentisign ID: 025160F1-6C4E-EE11-A3F1-6045BDA964A1
   JS 44 Reverse (Rev. 04/21)   Case 1:23-mi-99999-UNA Document 2899-1 Filed 09/08/23 Page 2 of 2
                        INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                  Authority For Civil Cover Sheet

   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
   required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
   required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
   Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

   I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
            only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
            the official, giving both name and title.
     (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
            time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
            condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
            in this section "(see attachment)".

   II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
            in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
            United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
            United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
            Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
            to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
            precedence, and box 1 or 2 should be marked.
            Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
            citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
            cases.)

   III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
            section for each principal party.

   IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
            that is most applicable. Click here for: Nature of Suit Code Descriptions.

   V.       Origin. Place an "X" in one of the seven boxes.
            Original Proceedings. (1) Cases which originate in the United States district courts.
            Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
            Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
            date.
            Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
            Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
            multidistrict litigation transfers.
            Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
            Section 1407.
            Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
            PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
            changes in statute.

   VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
            statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

   VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
            Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
            Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

   VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

   Date and Attorney Signature. Date and sign the civil cover sheet.
